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                        EXHIBIT F
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Teny Geragos

From:                                                Anna Estevao <AEstevao@shertremonte.com>
Sent:                                                Wednesday, January 29, 2025 1:07 PM
To:                                                  Johnson, Emily (USANYS) 2; Comey, Maurene (USANYS); Foster, Meredith (USANYS);
                                                     mitzi.steiner@usdoj.gov; Slavik, Christy (USANYS); Madison.Smyser@usdoj.gov
Cc:                                                  Teny Geragos; Marc Agnifilo; Alexandra Shapiro; Jason A. Driscoll
Subject:                                             Combs Brady Request



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unless you recognize the sender and know the content is safe.
Dear counsel,

Pursuant to your obligations under Rule 16 and Brady, please disclose all information related to the unedited
Intercontinental Hotel video footage, including information about its current location, and the identity of any
person(s) who possessed, manipulated, destroyed, or leaked the video to CNN. Please also disclose the
government’s efforts to locate this evidence. As you are aware, the unedited video is important Brady evidence,
and we need additional information to locate and obtain it in advance of trial. The identity of the person(s) who
manipulated, leaked, and/or destroyed the video is likewise Brady – especially if it is a government witness or
someone acting at the direction of a government witness.

Also, if you believe there is relevant material in the discovery already produced, please point us to it.

Please reach out if you have any questions or wish to discuss further.

Thank you,
Anna

                               Anna Estevao
                               Sher Tremonte LLP
                               90 Broad Street, 23rd Floor | New York, NY 10004
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